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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11   ESPERANZA GONZALEZ,                    )   No. 2:20-cv-07392-JDE
                                            )
12                                          )
                       Plaintiff,           )   ORDER AWARDING ATTORNEY
13                                          )
                  v.                        )   FEES UNDER THE EQUAL
14                                          )   ACCESS TO JUSTICE ACT,
     KILOLO KIJAKAZI, Acting                )
                                            )
                                                PURSUANT TO 28 U.S.C. § 2412(d)
15   Commissioner of Social Security,
                                            )
                                            )
16                     Defendant.           )
                                            )
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           Based upon the parties’ Stipulation (Dkt. 29), IT IS ORDERED that
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     Plaintiff shall be awarded attorney’s fees and expenses of $5,100.00 under 28
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     U.S.C. § 2412(d), subject to the terms of the above-referenced Stipulation.
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22   Dated: October 13, 2021
23                                               ______________________________
24                                               JOHN D. EARLY
                                                 United States Magistrate Judge
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